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Counsel for Plaintiff,
The Womans Club of Hollywood, California

UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES DIVISION

In re
JENNIFER MORGAN,

Debtor.

 

THE WOMANS CLUB OF HOLLYWOCD,
CALIFORNIA,

Plaintiff,
VS.
JENNIFER MORGAN , an individual,

Defendant.

 

 

Case No. 2:19-bk-19677-\WB
(Chapter 13)

Adv. Case No. 2:19-ap-01484-WB

DECLARATION OF SERVICE

|, Mayra Duran, declare and state as follows:

1. |am employed in the County of Los Angeles, State of California. | am over the

age of 18 and not a party to the within action. The matters set forth herein are made of my

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DECLARATION OF SERVICE

 

 

 
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own personal knowledge and, if called and sworn as a witness, | could testify competently
thereto

2. On November 14, 2019 | served the (1) PLAINTIFFS’ COMPLAINT TO
DETERMINE (1) DISCHARGEABILITY OF DEBT UNDER FRAUD AND DEFALCATION
WHILE ACTING IN A FIDUCIARY CAPACITY (11 U.S.C. § 523(A)(4)); AND (2)
DISCHARGEABILITY OF DEBT FOR WILLFUL AND MALICIOUS INJURY (11 U.S.C. §
523(A)(6)) and (2) SUMMONS AND NOTICE OF STATUS CONFERENCE via overnight

mail on:

Jennifer Morgan, Defendant
2408 Detour Drive
Los Angeles, CA 90068

Leon D Bayer, Esq., Attorney for Defendant
1055 Wilshire Blvd, Suite 1900
Los Angeles, CA 90017

Nancy K Curry, Trustee

1000 Wilshire Blvd., Suite 870
Los Angeles, CA 90017

| declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

Executed on this 25'" day of November 2019 at Torrance, California.

WU

f “MAYRA DURAN

2

 

 

 

DECLARATION OF SERVICE

 
PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
HINDS & SHANKMAN, LLP, 21257 Hawthorne Blvd., Second Floor, Torrance, CA 90503

A true and correct copy of the foregoing document entitled (specify) DECLARATION OF SERVICE will be served or was
served {a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General

Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (dafe)
November 25, 2019 | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List ta receive NEF transmission at the email addresses stated
below:

>] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date November 25, 2019 | served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be compieted no later than 24 hours after the document is filed.

[IX] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 25, 2019 | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

bh] Service information continued on attached page

! declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

November 25, 2019 MAYRA DURAN /s/ Mayra Duran
Date Printed Name Signature

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE

 
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

e Nancy K Curry {TR)  TrusteeECFMail@gmail.com

* James Andrew Hinds  jhinds@jhindslaw.com, mduran@jhindslaw.com

e United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL:

Jennifer Morgan
2408 Detour Drive
Los Angeles, CA 90068

Leon D. Bayer, Esq.
1055 Wilshire Blvd., Suite 1900
Los Angeles, CA 90017

3. SERVED BY OVERNIGHT MAIL

Clerk to the Honorable Julia W. Brand

United States Bankruptcy Court

Central District of California

Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382 / Courtroom 1375
Los Angeles, CA 90012

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2072

F 9013-3.1.PROOF.SERVICE

 

 

 
